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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

LAUREN MILLER, individually and on
behalf of all others similarly situated, :

: Civil Action No. l:l3-cv-l l487-RGS
Plaintiff, :
-against-

J. CREW GROUP, INC.,

Defendant.

 

FINAL JUDGMENT

l. ln the Final Order Approving Class Action Settlement, the Court granted final
certification, for purposes of settlement only, of a Class defined as: “All persons who, during the
period between June 20, 2009 and June 27, 2014, used a Credit Card at a Massachusetts J. Crew
Store and Whose Personal Identification Information, including, but not limited to ZIP code, was
requested and recorded by J. Crew at the Massachusetts J. Crew Store.” The term “Credit Card”
includes debit card. Further, the term “Personal Identification Inforrnation” means personal
identification information as defined in Mass. Gen. Laws c. 93, § 105(a), including ZIP codes,
and the term “Massachusetts J. Crew Store” means any J. Crew, Madewell, crewcuts or J. Crew
Factory store, located in Massachusetts operated by J. Crew.

2. All persons Who satisfy the class definition above are “Class Members.”
However, persons Who timely filed valid requests for exclusion are not Class Members. The list

of excluded persons is attached hereto as Exhibit l.

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3. ln the Final Order Approving Class Action Settlement, the Court found that notice
of the Settlement Agreement and Release (“Settlement Agreement”) was provided to Class
Members by email, postal mail and twice in a % page advertisement in the Boston Edition of
USA Today in compliance with Section 3.3 of the Settlement Agreement, Federal Rule of Civil
Procedure 23 and due process.

4. Class Counsel is awarded $135,000 (total) in fees and costs.

5. Plaintiffs Lauren Miller and Leah Crohn are awarded $3,000 (each) as an
incentive award.

6. J. Crew must issue a voucher (“Voucher”) for $20 off a merchandise purchase (no
minimum purchase required) to each Class Member who completed and submitted a timely and
valid “Claim Form” to the claims administrator (“Authorized Claimant”). The Vouchers will be
subject to the following conditions: (a) Vouchers shall be valid for 6 months after issuance; (b)
each Authorized Claimant is eligible to receive one (l) Voucher, regardless of the number of
alleged violations; (c) Vouchers are valid for a single-use only (may be used only one time); (d)
Vouchers shall be redeemable for in-store purchases of merchandise, not including gift cards, at
Massachusetts J. Crew Stores (J. Crew, Madewell, crewcuts or J. Crew Factory stores) only; (c)
Vouchers are not redeemable for cash, including if the Authorized Claimant uses the Voucher for
less than its full amount, he or she will not receive the remaining balance in cash; (D Vouchers
are transferable; (g) Vouchers will not be valid for past purchases; (h) Vouchers will not be
replaced if lost, stolen, expired or damaged; (i) Vouchers cannot be used on third-party branded
products; and (j) the Voucher may be used on sale item(s), however, they may not be combined

with any other discount offer, promotional coupon or Voucher.

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7. All Class Members are bound by this Final Judgment, by the Final Order

Approving Class Action Settlement and by the terms of the Settlement Agreement.

NOW, THEREFORE, the Court, finding that no reason exists for delay, hereby directs

the Clerk to enter this Final Judgment, pursuant to F ederal Rule of Civil Procedure 58, forthwith.

DATED; /O '/5- /"'f_`

 

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PROJECT: JCreW - Database: JCREW

Repor‘t Criteria: None

EXCL lD

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FULL NAME

KELL¥ SARVEY
WENDY ORSHAN
KATIE TISCIONE
RICHARD REGENTIN
WILLIAM l BAKER
RAQUEL T WHARTON ROHR
YING ZHENG
MEGAN E KORTE
DAVID R NICHOLS
SHARON P WHALEN
STEVEN J SNIDER
LAUREN D KWOK
TERRIS KUTSCHERA

TOTAL NUMBER OF EXCLUSIONS: 13

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